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EXHIBIT F

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1
1 UNITED STATES DISTRICT COURT
2 FOR THE DISTRICT OF MASSACHUSETTS
3
4 IN RE: PHARMACEUTICAL ) MDL NO. 1456
INDUSTRY AVERAGE WHOLESALE ) Master File No.
5 PRICE LITIGATION ) 01-12257-PBS
)
6 THIS DOCUMENT RELATES TO } Subcategory Case No.
United States of America ) 06-11337
7 ex rel. Ven-A-Care of )
the Florida Keys, Inc. v. ) Hon. Patti B. Saris
8 Actavis Mid Atlantic LLC, )
et al., Civil Action No. )
9 08-10852 )
10
11 VIDEOTAPED 30(b) (6) DEPOSITION OF
12 VEN-A-CARE BY JOHN M. LOCKWOOD, M.D.
13 Volume I
14 (Taken by Defendants)
15 July 27, 2009
16 9:02 a.m.
17 Omni Hotel at CNN Center
18 100 CNN Center
19 Atlanta, Georgia
20
21 Reported by: F. Renee Finkley, RPR, CRR, CLR,
22 CCR-B-2289

Lockwood, John Vol I 7-27-2009

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catalogs and other information that occurred in -- in
'99 and 2000 associated with the DOJ AWPs, et cetera;
but they're specifically referenced in that letter as
the Bergen Brunswig prices in '99.

Is there more? I think we believe at
Ven-A-Care that we began disclosing inflated price
information to the government, including Pete Stark,
and ultimately the OIG and Richard Kusserow as early
as 1992 and had an ongoing dialogue with the OIG and
OIG agents and OIG attorneys about drug pricing
information and drug pricing fraud that starts way
back in -- in at least '92, if it not earlier.

And we made a habit of sending pricing
information to the OIG, including -- and I -- it's my
recollection that when we gave Rob Vito a password to
Innovatix, that Mylan was one of the companies that
at that time had a contract with Innovatix, and I
think that was 1998, if I'm remembering correctly --
I think there's testimony on that as well -- that
opened up pricing information to them.

This letter is dated January 31, 2001, and

I think I've testified that we gave the Department of

60

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